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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

BLUE CROSS BLUE SHIELD OF
MISSISSIPPI, A MUTUAL INSURANCE
COMPANY                                                                          PLAINTIFF

V.                                         CIVIL ACTION NO.: 3:13CV655 HTW-LRA

GOVERNOR PHIL BRYANT, in his
Capacity as Governor of the State of
Mississippi                                                                    DEFENDANT

                 MOTION OF THE INSURANCE COMMISSIONER
                 OF THE STATE OF MISSISSIPPI TO INTERVENE

       Comes now the Honorable Mike Chaney, Commissioner of Insurance of the State of

Mississippi, pursuant to Rule 24 of the Federal Rules of Civil Procedure and moves the Court

to allow his intervention in the above styled and numbered cause and would show unto the

Court as follows:

       1.     Pursuant to F.R.C.P. 24(a)(2), the Commissioner is entitled to intervene in this

proceeding because he has an interest relating to the subject of this action, and is so situated

that disposing of the action may as a practical matter impede his ability to protect that

interest.

       2.     The Party Plaintiff in this proceeding has an interest in protecting private

contract rights threatened by Executive Order 1327 proclaimed by the Defendant on

October 22, 2013. However, the Party Plaintiff does not share the overriding governmental

interest of the Commissioner of Insurance which is threatened by the Executive Order. The

Executive Order illegally usurps the powers of the Commissioner of Insurance and the
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Mississippi State Department of Insurance into the Office of the Governor. Such an

arrogation of power is unprecedented in the history of the State of Mississippi. A copy of

Executive Order 1327 is attached to this motion. After several pages of “Whereas” clauses,

the order declares in paragraph 1, page 5 that “the Department of Insurance shall promptly”

perform duties delegated to that Department by Legislature. It is the Legislature that

provides in Miss. Code § 83-1-1:

              There is hereby continued a separate and distinct department of
              insurance, which shall be charged with the execution of all laws,
              (except as otherwise specifically provided by statute) now in
              force, or which may hereafter be enacted, relative to all
              insurance and all insurance companies, corporations,
              associations, or orders. (Emphasis added)

There is no statute which specifically provides otherwise. However, there is a statute, Miss.

Code § 7-1-5, which prescribes the powers and duties of the Governor and nowhere in that

statute is the Governor empowered to direct the Commissioner of Insurance or the

Department of Insurance to undertake any act or conduct any hearing. Subsection (h) of that

statute recites that the Governor “may require the attorney general, or district attorney of any

district, to inquire into the affairs or management of any corporation,” but not to require the

Commissioner of Insurance to do so. In 2011, 202,201 citizens of the State of Mississippi

elected Mike Chaney to the office of Commissioner of Insurance. It is his duty to fulfill the

functions of that office and to withstand the illegal attempt to usurp the powers of that office

and arrogate them unto the Governor.

      3.     This motion is timely filed.

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       Attached hereto is the pleading which sets forth the claim for which intervention is

sought as required pursuant to F.R.C.P. 24(c).

       WHEREFORE, the Commissioner of Insurance of the State of Mississippi moves the

Court to allow his intervention in this proceeding and to file the pleading attached hereto.

       Dated: October 24, 2013.

                                          Respectfully submitted,

                                          MIKE CHANEY, COMMISSIONER
                                          OF INSURANCE OF THE STATE OF
                                          MISSISSIPPI


                                          By: /s/ John G. Corlew
                                                JOHN G. CORLEW


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                             CERTIFICATE OF INSURANCE

        I hereby certify that on October 24, 2013, I electronically filed the foregoing with the
Clerk

of the Court using the ECF system which sent notification of such filing to the following:


    Cheri D. Green
      cgreen@brunini.com,vwycoff@brunini.com


    R. David Kaufman
       dkaufman@brunini.com,rharrell@brunini.com


    Harold Edward Pizzetta, III
        hpizz@ago.state.ms.us




 and I hereby certify that I have mailed by United States Postal Service the document to the
 following non-ECF participants:


                None.


                                                      /s/ John G. Corlew
                                                    JOHN G. CORLEW




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